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                          UNITED STATES BANKRUPTCY COURT
                           SOUTHERN DISTRICT OF INDIANA
                               INDIANAPOLIS DIVISION

IN RE:                                             )
                                                   )     CASE NUMBER: 19-01067-JMC-7
Michael Amos Green                                 )     CHAPTER: 7
                                                   )
                      Debtor.                      )


                           MOTION FOR RELIEF FROM STAY
                       AND FOR ABANDONMENT OF REAL ESTATE

         Nationstar Mortgage LLC d/b/a Mr. Cooper (hereinafter referred to as "Creditor"), for its

Motion for Relief from Stay and for Abandonment of Real Estate, against Michael Amos Green,

alleges and says:

         1.     On February 27, 2019, Michael Amos Green (hereinafter referred to as the

"Debtor") filed a Petition under Chapter 7 of the Bankruptcy Code in this Court under the above

denominated case number.

         2.      Nationstar Mortgage LLC d/b/a Mr. Cooper is a secured creditor of Michael Amos

Green.

         3.     On August 15, 2003, the Michael Amos Green borrowed from CitiMortgage, Inc.

the sum of $100,000.00 and to evidence such indebtedness made, executed, and delivered to

CitiMortgage, Inc. a Note (hereinafter referred to as the "Note") under the terms of which Debtor(s)

promised to repay that sum with interest thereon at the rate of 5.75% per annum by monthly

payments on the first day of each month and continuing each month thereafter until September 1,

2033, at which time the entire balance is due and owing, with attorneys' fees and without relief from

valuation and appraisement laws. A copy of said Note is attached hereto, with loan numbers

redacted, if applicable, incorporated herein, and marked as Exhibit "A".
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       4.      On August 15, 2003, the Michael Amos Green executed a Mortgage upon real estate

and improvements located thereon.        Said real estate is situated in Shelby County, Indiana

(hereinafter referred to as the "Real Estate"), which Real Estate is more particularly described as

follows:

       Part of the South Half of the Southwest Quarter of Section 19, Township 14 North,
       Range 6 East in Shelby County, Indiana, more particularly described as follows:
       Beginning at a point 948 feet North of the Southwest corner of the South Half of
       said Quarter, running thence North along and with the West line thereof 381 feet to
       the Northwest corner of said Half Quarter Section; thence East along and with the
       North line of said Half Quarter Section 690.4 feet; thence South 381 feet to point,
       and thence West 690.4 feet to the place of beginning, containing 6.04 acres, more or
       less. EXCEPTING THEREFROM: Tract #5 in Block 34 of Sugar Creek Addition in
       Shelby County, Indiana more particularly described as follow, to wit: Beginning at
       the Southwest corner of said Block 34; thence North, in and along the West line
       thereof 71 feet; thence East parallel to the South line of said Block 34, 155 feet;
       thence South, parallel to said West line 71 feet to a point in said South line, thence
       West, in and along said South line 155 feet to the place of beginning.

and commonly known as: 8310 N 700 W, Fairland, IN 46126. A copy of said Mortgage being

attached hereto, with loan numbers redacted, if applicable, incorporated herein, and marked as

Exhibit "B". The Mortgage was duly recorded on September 9, 2003 as Instrument No. 0310094, in

the Office of the Recorder of Shelby County, Indiana.

       5.      CitiMortgage, Inc., by Nationstar Mortgage LLC, as its Attorney-in-Fact assigned its

interest in the Mortgage to Nationstar Mortgage LLC d/b/a Mr. Cooper by an Assignment of

Mortgage dated August 24, 2017. A copy of said assignment is attached hereto, with loan numbers

redacted, if applicable, incorporated herein, and marked as Exhibit "C".

       6.      Installments have not been paid according to the terms of the Note and Mortgage

and, therefore, the Note and Mortgage are in default.

       7.      The unpaid principal balance and interest as of the filing of this Motion is

$74,139.02 which is currently due and owing to Creditor, and interest currently accruing thereafter,
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together with attorneys' fees and any other costs or expenses incurred by Creditor to secure the lien

of its Mortgage and as otherwise provided therein.

        8.      As of the filing of this Motion, there is a default due and owing to the Creditor

which consists of the May 1, 2016 payment through the March 1, 2019 payment plus any

outstanding fees and cost.

        9.      It is the intention of the Debtor to surrender the property.

        10.     Creditor seeks relief from stay under 11 U.S.C. §§ 362(d)(1) and/or 362(d)(2), as

there is little to no equity in the above-said real estate for the benefit of unsecured creditors, and as

Debtors’ continued use of the property, without making on-going, post-petition mortgage payments,

fails to adequately protect Creditor’s interests.

        11.     Creditor seeks abandonment of the property pursuant to 11 U.S.C. §554(b) as the

collateral is burdensome and is of inconsequential value and benefit to the estate.

        12.      Creditor is being irreparably harmed by the stay preventing it from proceeding to

foreclose on its Mortgage because the sums due and owing to it are increasing rapidly through the

continued accrual of interest and the incurring of other costs and expenses in order to protect its

interest in the real estate which is diminishing the secured position of the Creditor. Accordingly, this

Court should enter an Order authorizing the Creditor to institute such proceedings as may be

necessary to realize upon its Mortgage, which would not hinder, burden, delay, or be inconsistent

with this proceeding. All communications including, but not limited to, notices required by state

law, send by Creditor in connection with proceeding against the property may be sent directly to

Debtor(s).

        13.     Creditor seeks that the 14 day stay of the Order imposed by Bankruptcy Rule

4001(a)(3) be waived.
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        14.     Nationstar Mortgage services the loan on the property referenced in this proof of

claim. In the event the automatic stay in this case is modified, this case dismisses, and/or the

debtor obtains a discharge and a foreclosure action is commenced on the mortgaged property, the

foreclosure will be conducted in the name of Nationstar Mortgage LLC d/b/a Mr. Cooper,

"Noteholder". Noteholder directly or through an agent, has possession of the promissory note.

The promissory note is either made payable to Noteholder or has been duly endorsed. Noteholder

is the original mortgagee, or beneficiary, or the assignee of the security instrument for the

referenced loan.

        WHEREFORE, Creditor prays that the stay, pursuant to Section 362 of the Bankruptcy

Code, be modified and the automatic bankruptcy stay terminated to permit Creditor, its

successors and/or assignees, to pursue any and all legal and equitable remedies available to

foreclose on its Mortgage lien and security interest existing prior or pursuant to this Order,

including, the right to initiate a foreclosure proceeding; the right to proceed with any foreclosure

proceeding instituted but otherwise stayed as a result of the filing of Debtor bankruptcy petition;

the right to obtain a foreclosure judgment pursuant to any such proceedings; and the right to

praecipe for, and bid at a Sheriff’s Sale of the Real Estate or other collateral encumbered by any

lien or security interest of Creditor.

        Creditor, by counsel, next prays that the property be abandoned pursuant to Section 554

from the bankruptcy estate.
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       Creditor, by counsel, further prays that the 14 day stay of the Order imposed by Bankruptcy

Rule 4001(a)(3) be waived.

                                              DOYLE & FOUTTY, P.C.
                                            By /s/ Jessica S Owens
                                               Attorneys for Nationstar Mortgage LLC d/b/a
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                                 CERTIFICATE OF SERVICE

       This is to certify that a copy of the foregoing has been served upon the following

electronically or by first class, United States mail, postage prepaid or electronic mail, on March 11,

2019, the same as the date of filing in the United States Bankruptcy Court:



Michael Amos Green, 8310 N 700 W, Fairland, IN 46126
Randall R. Shouse, 9510 E. Washington Street, Indianapolis, IN 46229, rshouse@ameritech.net
John J. Petr, 111 Monument Cir Ste 900, Indianapolis, IN 46204-5125, petrtrustee@kgrlaw.com
U.S. Trustee, 101 W. Ohio Street, Ste. 1000, Indianapolis, IN 46204

                                              By /s/ Jessica S Owens
                                                 Attorneys for Nationstar Mortgage LLC d/b/a
                                                 Mr. Cooper
                                                 Doyle & Foutty, P.C.
                                                 41 E Washington Street, Suite 400
                                                 Indianapolis, IN 46204
                                                 Phone: (317) 264-5000
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                      EXHIBIT "C"
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